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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

UWANA DAVIS,
                                                     CASE NO.:        8:17-CV-02079-VMC-MAP
       Plaintiff,

v.

AMERIMARK DIRECT, LLC,

      Defendant.
__________________________________/

                                 NOTICE OF SETTLEMENT

       Plaintiff, Uwana Davis, by and through undersigned counsel, hereby files this Notice of

Settlement. By submission of this Notice, submitting counsel represents that this matter has settled

in principle subject to final documentation and respectfully requests that any scheduled hearings

be removed from the Court’s calendar. The parties respectfully request that the upcoming

scheduled mediation on January 23, 2018 be cancelled due to the parties settlement.

Dated: January 10, 2018                              Respectfully Submitted,

                                                     CENTRONE & SHRADER, PLLC
                                                     612 W. Bay Street
                                                     Tampa, FL 33606
                                                     Telephone: (813) 360-1529
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                                                     /s/ Brian L. Shrader__________
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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 10, 2018, I presented a true and correct copy of the

foregoing to the Clerk of the United States District Court for the Middle District of Florida Tampa

Division, for filing and uploading to the CM/ECF system.


                                   /s/ Brian L. Shrader______
                                   Attorney




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